 )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVH

 'HEWRU
                      Cheryl A Gibson
                      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

 'HEWRU             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
  6SRXVHLIILOLQJ

                                                Eastern
 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKHBBBBBBBBBB
                                          BBBBBBBBBB'LVWULFW
                                                                Michigan
                                                             RIBBBBBBBBBB
                                                    'LVWULFWRI BBBBBBBBBB
                        18-48460
 &DVHQXPEHU BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




2IILFLDO)RUP6
1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                                                                                             

,IWKHGHEWRU¶VSODQSURYLGHVIRUSD\PHQWRISRVWSHWLWLRQFRQWUDFWXDOLQVWDOOPHQWVRQ\RXUFODLPVHFXUHGE\DVHFXULW\LQWHUHVWLQWKH
GHEWRU¶VSULQFLSDOUHVLGHQFH\RXPXVWXVHWKLVIRUPWRJLYHQRWLFHRIDQ\FKDQJHVLQWKHLQVWDOOPHQWSD\PHQWDPRXQW)LOHWKLVIRUP
DVDVXSSOHPHQWWR\RXUSURRIRIFODLPDWOHDVWGD\VEHIRUHWKHQHZSD\PHQWDPRXQWLVGXH6HH%DQNUXSWF\5XOH


                   The Huntington National Bank
 1DPHRIFUHGLWRUBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                                      04
                                                                                     &RXUWFODLPQR LINQRZQ BBBBBBBBBBBBBBBBBBBBB


 /DVWGLJLWVRIDQ\QXPEHU\RXXVHWR                                             'DWHRISD\PHQWFKDQJH
 LGHQWLI\WKHGHEWRU¶VDFFRXQW                         8 8 5 8
                                                          BBBBBBBBBBBBBBBB       0XVWEHDWOHDVWGD\VDIWHUGDWH      07-01-21
                                                                                                                               BBBBBBBBBBBBB
                                                                                     RIWKLVQRWLFH


                                                                                     1HZWRWDOSD\PHQW                          1839.35
                                                                                                                               BBBBBBBBBBBB
                                                                                     3ULQFLSDOLQWHUHVWDQGHVFURZLIDQ\

 3DUW        (VFURZ$FFRXQW3D\PHQW$GMXVWPHQW

    :LOOWKHUHEHDFKDQJHLQWKHGHEWRU¶VHVFURZDFFRXQWSD\PHQW"
          1R
      
      ✔
           <HV$WWDFKDFRS\RIWKHHVFURZDFFRXQWVWDWHPHQWSUHSDUHGLQDIRUPFRQVLVWHQWZLWKDSSOLFDEOHQRQEDQNUXSWF\ODZ'HVFULEH
                WKHEDVLVIRUWKHFKDQJH ,IDVWDWHPHQWLVQRWDWWDFKHGH[SODLQZK\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                     703.74
                      &XUUHQW HVFURZSD\PHQW BBBBBBBBBBBBBBB                  1HZHVFURZSD\PHQW
                                                                                                                  731.22
                                                                                                               BBBBBBBBBBBBBBB


 3DUW        0RUWJDJH3D\PHQW$GMXVWPHQW

    :LOOWKHGHEWRU¶VSULQFLSDODQGLQWHUHVWSD\PHQWFKDQJHEDVHGRQDQDGMXVWPHQWWRWKHLQWHUHVWUDWHRQWKHGHEWRU V
      YDULDEOHUDWHDFFRXQW"
      
      ✔    1R
          <HV$WWDFKDFRS\RIWKHUDWHFKDQJHQRWLFHSUHSDUHGLQDIRUPFRQVLVWHQWZLWKDSSOLFDEOHQRQEDQNUXSWF\ODZ,IDQRWLFHLVQRW
                DWWDFKHGH[SODLQZK\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                      &XUUHQWLQWHUHVWUDWH      BBBBBBBBBBBBBBB             1HZLQWHUHVWUDWH           BBBBBBBBBBBBBBB

                      &XUUHQWSULQFLSDODQGLQWHUHVWSD\PHQW BBBBBBBBBBBBBBB 1HZSULQFLSDODQGLQWHUHVWSD\PHQW BBBBBBBBBBBBBBB


 3DUW        2WKHU3D\PHQW&KDQJH

    :LOOWKHUHEHDFKDQJHLQWKHGHEWRU¶VPRUWJDJHSD\PHQWIRUDUHDVRQQRWOLVWHGDERYH"
      
      ✔
           1R
          <HV$WWDFKDFRS\RIDQ\GRFXPHQWVGHVFULELQJWKHEDVLVIRUWKHFKDQJHVXFKDVDUHSD\PHQWSODQRUORDQPRGLILFDWLRQDJUHHPHQW
                &RXUW DSSURYDOPD\EHUHTXLUHGEHIRUHWKHSD\PHQWFKDQJHFDQWDNHHIIHFW

                      5HDVRQIRUFKDQJHBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                      &XUUHQWPRUWJDJHSD\PHQWBBBBBBBBBBBBBBB                1HZPRUWJDJHSD\PHQW BBBBBBBBBBBBBBB


2IILFLDO)RUP6                                           1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                          SDJH 
              18-48460-tjt              Doc 88        Filed 06/08/21       Entered 06/08/21 14:18:30                    Page 1 of 8
'HEWRU
                  Cheryl A Gibson
                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                                     18-48460
                                                                                                  &DVHQXPEHU LINQRZQ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 )LUVW1DPH      0LGGOH1DPH               /DVW1DPH




 3DUW        6LJQ+HUH


 7KHSHUVRQFRPSOHWLQJWKLV1RWLFHPXVWVLJQLW6LJQDQGSULQW\RXUQDPHDQG\RXUWLWOHLIDQ\DQGVWDWH\RXUDGGUHVVDQG
 WHOHSKRQHQXPEHU
 &KHFNWKHDSSURSULDWHER[

     
     ✔      ,DPWKHFUHGLWRU

           ,DPWKHFUHGLWRU¶VDXWKRUL]HGDJHQW



 ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHLQIRUPDWLRQSURYLGHGLQWKLVFODLPLVWUXHDQGFRUUHFWWRWKHEHVWRIP\
 NQRZOHGJHLQIRUPDWLRQDQGUHDVRQDEOHEHOLHI



                                                                                                        06-08-2021
 8   BBBBBV-HVVLFD0'LOORQ                                                                 'DWH BBBBBBBBBBBBBBBBBBB

     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                     Jessica                          M                     Dillon
     6LJQDWXUH
                                                                                                        Bankruptcy Specialist
 3ULQW             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                    7LWOH BBBBBBBBBBBBBBBBBBBBBBBBBBB
                    )LUVW1DPH                       0LGGOH1DPH         /DVW1DPH



 &RPSDQ\
                     The Huntington National Bank
                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB



 $GGUHVV
                     5555 Cleveland Ave
                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                    1XPEHU                   6WUHHW

                    Columbus                           OH        43231
                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                    &LW\                                                  6WDWH       =,3 &RGH


                     888-632-5547
 &RQWDFWSKRQH BBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                        bankruptcy@huntington.com
                                                                                                  (PDLOBBBBBBBBBBBBBBBBBBBBBBBB




2IILFLDO)RUP6                                                      1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                          SDJH 
             18-48460-tjt               Doc 88               Filed 06/08/21            Entered 06/08/21 14:18:30                 Page 2 of 8
                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF MICHIGAN

In Re:

         CHERYL          Case No. 18-48460
         GIBSON
                         Chapter 13

                         Hon. Thomas J. Tucker

         Debtor

                                                   /


                               CERTIFICATE OF SERVICE

        The Huntington National Bank states that on June 8, 2021 it served a copy of the Notice
of Mortgage Payment Change and this Certificate of Service by U.S. Mail or by
electronic notification via the Court’s CM/ECF system to the following:

Cheryl Gibson 456 PLUM ST WYANDOTTE MI 48192

John Finn, Debtors Atty @ jjfinn@comcast.net

Tammy Terry, Ch 13 Trustee @ MIEB_ECFADMIN@DET13.NET

U.S. Trustee

 Date: June 8, 2021                        __/s/ Jessica M. Dillon
                                           ___________________________
                                           Bankruptcy Specialist




   18-48460-tjt    Doc 88    Filed 06/08/21    Entered 06/08/21 14:18:30       Page 3 of 8
18-48460-tjt   Doc 88   Filed 06/08/21   Entered 06/08/21 14:18:30   Page 4 of 8
T2031-37P                                                                      05/18/21




       CHERYL A GIBSON
       456 PLUM ST
       WYANDOTTE             MI 48192

                       ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT
                                      ACCOUNT HISTORY
       THIS IS ACTUAL ESCROW ACTIVITY IN YOUR ESCROW ACCOUNT FROM
       05/19/20 THROUGH 06/30/20.
               ACTUAL         ACTUAL                                           ACTUAL
               ESCROW         ESCROW                                           ESCROW
MO/YR          DEPOSIT        PAYMENTS    DESCRIPTION                          BALANCE
STARTING BALANCE ...............................................             6,350.10
06/20          716.98          149.96     RBP                                6,917.12

       THIS IS A STATEMENT OF ACTUAL ACTIVITY IN YOUR ESCROW ACCOUNT FROM
       07/01/20 THROUGH 06/30/21.
       YOUR   MONTHLY    MORTGAGE PAYMENT FOR THE PAST YEAR WAS
             1,811.87 OF WHICH     1,108.13 WAS FOR PRINCIPAL AND INTEREST
        AND       703.74 WENT INTO YOUR ESCROW ACCOUNT.
        PROJ     ACTUAL    PROJ                  ACTUAL          PROJ          ACTUAL
        ESCROW   ESCROW    ESCROW                ESCROW          ESCROW        ESCROW
MO/YR   DEPOSIT DEPOSIT    PAYMENTS DESCRIPTION PAYMENTS         BALANCE       BALANCE
STARTING BALANCE .........................................      3585.17       6917.12
07/20   703.74   716.98 *   149.96 RBP                  *       4138.95       7634.10
07/20                              RBP            146.45*       4138.95       7487.65
08/20   703.74 1433.96 *    149.96 RBP                  *       4692.73       8921.61
08/20                              RBP            146.45*       4692.73       8775.16
09/20   703.74   716.98 *   149.96 RBP                  *       5246.51       9492.14




        18-48460-tjt   Doc 88   Filed 06/08/21   Entered 06/08/21 14:18:30   Page 5 of 8
T2031-37P                                                                          05/18/21




        PROJ       ACTUAL        PROJ                    ACTUAL       PROJ         ACTUAL
        ESCROW     ESCROW        ESCROW                  ESCROW       ESCROW       ESCROW
MO/YR   DEPOSIT    DEPOSIT       PAYMENTS DESCRIPTION    PAYMENTS     BALANCE      BALANCE
09/20                            4138.95 CITY TAX               *    1107.56      9492.14
09/20                                    RBP              146.45*    1107.56      9345.69
10/20   703.74    1433.96 *       149.96 RBP                    *    1661.34     10779.65
10/20                                    RBP              146.45*    1661.34     10633.20
11/20   703.74    1433.96 *       149.96 RBP                    *    2215.12     12067.16
11/20                                    RBP              146.45*    2215.12     11920.71
12/20   703.74     716.98 *       149.96 RBP                    *    2768.90     12637.69
12/20                             925.43 CITY TAX               *    1843.47     12637.69
12/20                                    RBP              146.45*    1843.47     12491.24
01/21   703.74     716.98 *       149.96 RBP                    *    2397.25     13208.22
01/21                                    RBP              146.45*    2397.25     13061.77
02/21   703.74     703.74         149.96 RBP                    *    2951.03     13765.51
02/21                                    RBP              146.45*    2951.03     13619.06
03/21   703.74     703.74         149.96 RBP                    *    3504.81     14322.80
03/21                                    RBP              146.45*    3504.81     14176.35
04/21   703.74     703.74         149.96 RBP                    *    4058.59     14880.09
04/21                                    RBP              146.45*    4058.59     14733.64
04/21                                    HAZARD INS      1604.00*    4058.59     13129.64
05/21   703.74    5629.92 *Y      149.96 RBP                    *Y   4612.37     18759.56
05/21                            1581.00 HAZARD INS             *    3031.37     18759.56
05/21                                    RBP              146.45*    3031.37     18613.11
05/21                        Y           CITY TAX        4305.43*Y   3031.37     14307.68
05/21                        Y           CITY TAX        4305.43*Y   3031.37     10002.25
05/21                        Y           CITY TAX        4305.43*Y   3031.37      5696.82
05/21                        Y           CITY TAX         947.43*Y   3031.37      4749.39
05/21                        Y           CITY TAX         947.43*Y   3031.37      3801.96
05/21                        Y           CITY TAX         947.43*Y   3031.37      2854.53
06/21   703.74     703.74    Y    149.96 RBP              146.45*Y   3585.15      3411.82




        18-48460-tjt   Doc 88       Filed 06/08/21   Entered 06/08/21 14:18:30   Page 6 of 8
T2031-37P                                                                     05/18/21




       LAST YEAR, WE ANTICIPATED THAT PAYMENTS FROM YOUR ACCOUNT WOULD BE
       MADE DURING THIS PERIOD EQUALING       8,444.90. UNDER FEDERAL LAW,
       YOUR LOWEST MONTHLY BALANCE SHOULD NOT HAVE EXCEEDED       1,107.56
       (NO MORE THAN TWICE LAST YEARS PROJECTED MONTHLY ESCROW PAYMENT),
       UNLESS YOUR MORTGAGE CONTRACT OR STATE LAW SPECIFIES A LOWER AMOUNT.
       UNDER YOUR MORTGAGE CONTRACT AND STATE LAW, YOUR LOWEST MONTHLY
       BALANCE SHOULD NOT HAVE EXCEEDED       1,107.56.
       YOUR ACTUAL LOWEST MONTHLY BALANCE WAS GREATER THAN       1,107.56.
       THE ITEMS WITH AN ASTERISK ON YOUR ACCOUNT HISTORY MAY EXPLAIN THIS.
       AN ASTERISK (*) INDICATES A DIFFERENCE FROM A PREVIOUS ESTIMATE
       EITHER IN THE DATE OR THE AMOUNT. IF YOU WANT A FURTHER EXPLANATION,
       PLEASE CALL OUR TOLL-FREE NUMBER.
                                      ACCOUNT PROJECTION
       MORTGAGE INS           :       1,757.40
       CITY TAX               :       5,252.86
       HAZARD INS             :       1,604.00
       ---------------------------------------
       ANNUAL DISBURSEMENTS :         8,614.26
                8,614.26 / 12 =         717.86 ESCROW PAYMENT
       PAYMENTS       PAYMENTS                   CURRENT BAL       REQUIRED BAL
MO/YR     TO            FROM      DESCRIPTION     PROJECTION        PROJECTION
BALANCE AS OF 06/30/21..........................    3,411.82           3,734.02
07/21     717.86         146.45   RBP               3,983.23           4,305.43
08/21     717.86         146.45   RBP               4,554.64           4,876.84
09/21     717.86         146.45   RBP               5,126.05           5,448.25
09/21                  4,305.43   CITY TAX            820.62           1,142.82
10/21     717.86         146.45   RBP               1,392.03           1,714.23
11/21     717.86         146.45   RBP               1,963.44           2,285.64
12/21     717.86         146.45   RBP               2,534.85           2,857.05
12/21                    947.43   CITY TAX          1,587.42           1,909.62




        18-48460-tjt   Doc 88   Filed 06/08/21   Entered 06/08/21 14:18:30   Page 7 of 8
T2031-37P                                                                       05/18/21




        PAYMENTS        PAYMENTS                       CURRENT BAL   REQUIRED BAL
MO/YR      TO             FROM       DESCRIPTION        PROJECTION    PROJECTION
01/22      717.86          146.45    RBP                  2,158.83       2,481.03
02/22      717.86          146.45    RBP                  2,730.24       3,052.44
03/22      717.86          146.45    RBP                  3,301.65       3,623.85
04/22      717.86          146.45    RBP                  3,873.06       4,195.26
05/22      717.86          146.45    RBP                  4,444.47       4,766.67
05/22                    1,604.00    HAZARD INS           2,840.47       3,162.67
06/22       717.86         146.45    RBP                  3,411.88       3,734.08
        THE EXPECTED AMOUNT IN YOUR ESCROW ACCOUNT IS     3,411.82 . YOUR
        STARTING BALANCE ACCORDING TO THIS ANALYSIS SHOULD BE     3,734.02 .
        THIS MEANS YOU HAVE A SHORTAGE OF       160.36.** THIS SHORTAGE MAY
        BE COLLECTED FROM YOU OVER A PERIOD OF 12 MONTHS OR MORE UNLESS THE
        SHORTAGE IS LESS THAN 1 MONTHS DEPOSIT, IN WHICH CASE WE HAVE THE
        OPTION OF REQUESTING PAYMENT WITHIN 30 DAYS. WE HAVE DECIDED TO
        COLLECT IT OVER 12 MONTHS.
        ** THIS AMOUNT HAS BEEN ADJUSTED FOR THE BANKRUPTCY PROOF OF CLAIM.
        YOUR   MONTHLY    MORTGAGE PAYMENT FOR THE COMING YEAR WILL BE
              1,839.35 OF WHICH     1,108.13 WILL BE FOR PRINCIPAL AND
        INTEREST AND       717.86 WILL GO INTO YOUR ESCROW ACCOUNT.
        NEW PAYMENT INFORMATION
            PRINCIPAL AND INTEREST                1,108.13
            ESCROW PAYMENT                          717.86
            OVER/SHORT SPREAD                        13.36
                                              --------------
        NEW PAYMENT EFFECTIVE 07/01/21            1,839.35
        KEEP THIS STATEMENT FOR COMPARISON WITH THE ACTUAL ACTIVITY IN YOUR
        ACCOUNT AT THE END OF THE NEXT ESCROW ACCOUNTING COMPUTATION YEAR.




         18-48460-tjt   Doc 88   Filed 06/08/21    Entered 06/08/21 14:18:30   Page 8 of 8
